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                 IN THE UNITED STATES DISTRICT COURT
                                                 for the
                           E ASTERN D ISTRICT OF P ENNSYLVANIA
                                          C IVIL D IVISION

 BRENDAN BERNICKER
                            Plaintiff,
                     v.                                    Civil Action No. 2:18-cv-01243-WB
 NATIONAL SECURITY AGENCY
                            Defendant.


                                     NOTICE OF DISMISSAL

        The above-captioned matter has been resolved to the mutual satisfaction of the parties.

Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), the undersigned plaintiff voluntarily dismisses this case.


Dated: July 24, 2019                                        Respectfully submitted,

                                                             s/ Brendan Bernicker
                                                            Brendan Bernicker, Plaintiff
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